              Case 21-30161                Doc 96          Filed 02/24/22 Entered 02/24/22 14:27:18                   Desc Main
Fill in this information to identify the case:
                                                            Document     Page 1 of 41

            City Church COGIC
Debtor Name __________________________________________________________________


                                        Western District
United States Bankruptcy Court for the: _______ District ofof________
                                                              North Carolina

                 21-30161                                                                                               Check if this is an
Case number: _________________________
                                                                                                                          amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                 January 2022
                      ___________                                                                Date report filed:     02/20/2022
                                                                                                                        ___________
                                                                                                                        MM / DD / YYYY

                   Religious Organization
Line of business: ________________________                                                       NAISC code:            ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                            Michael A. Stevens, Sr.
                                              ____________________________________________

Original signature of responsible party       ____________________________________________

Printed name of responsible party             Michael A Stevens Sr.
                                              ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                        
                                                                                                                             ✔                
    2.   Do you plan to continue to operate the business next month?                                                         
                                                                                                                             ✔                
    3.   Have you paid all of your bills on time?                                                                            
                                                                                                                             ✔                
    4.   Did you pay your employees on time?                                                                                 
                                                                                                                             ✔                
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                     
                                                                                                                             ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                  
                                                                                                                             ✔                
    7.   Have you timely filed all other required government filings?                                                        
                                                                                                                             ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                     
                                                                                                                             ✔                
    9.   Have you timely paid all of your insurance premiums?                                                                
                                                                                                                             ✔                
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                             
                                                                                                                                     ✔         
    11. Have you sold any assets other than inventory?                                                                              
                                                                                                                                     ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                       
                                                                                                                                     ✔         
    13. Did any insurance company cancel your policy?                                                                               
                                                                                                                                     ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                             
                                                                                                                                     ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                         
                                                                                                                                     ✔         
    16. Has anyone made an investment in your business?                                                                             
                                                                                                                                     ✔         
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Debtor Name   City Church COGIC
              _______________________________________________________                                 21-30161
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               -16,885.98
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                             40,892.02
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                           37,452.98
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +       3,439.04
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                               -13,446.94
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                                0.00
                                                                                                                             $ ____________

               (Exhibit E)




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Debtor Name   City Church COGIC
              _______________________________________________________                                    21-30161
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                0.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                           4
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                           4
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                           32,500.00
                                        $ ____________           –      40,892.02
                                                                     $ ____________
                                                                                               =       -8,392.02
                                                                                                   $ ____________
    32. Cash receipts
                                           37,199.44                    37,452.98              =         -253.51
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                            -4,699.44            –        3,439.04             =       -8,138.48
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                           39,750.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                   39,553.52

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                       196.48




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              _______________________________________________________                                 21-30161
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


    
    ✔   41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




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                                                                                       Document     Page 5 of 41                                                     EXHIBIT C & D
                                                                                            CITY CHURCH
                                                                                         Statement of Activity Detail
                                                                                                  January 2022


DATE            TRANSACTION NUM NAME             CLASS     MEMO/DESCRIPTION                                                                                 SPLIT                AMOUNT BALANCE
                TYPE
Ordinary Revenue/Expenditures
 Revenue
  UNRESTRICTED SUPPORT & REVENUE
  BUILDING RENTAL
   01/26/2022   Deposit         Bright Kids      DAYCARE Deposit-Bright Kids                                                                                CASH -               3,000.00     3,000.00
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
  Total for BUILDING RENTAL                                                                                                                                                     $3,000.00
  DAYCARE INCOME
   01/06/2022   Deposit                                    MECKLENBURG AREA DES:A/P-EFT           ID:13402              INDN:CITY CHURCH CHURCH OF CO       CASH -               4,750.00     4,750.00
                                                           ID:XXXXX79865 CCD                                                                                UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
  Total for DAYCARE INCOME                                                                                                                                                      $4,750.00
  GENERAL TITHES & OFFERINGS
   01/03/2022   Deposit                                    Deposit                                                                                          CASH -               1,404.97     1,404.97
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/03/2022   Deposit                                    Deposit                                                                                          CASH -               3,350.00     4,754.97
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/03/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -               1,095.25     5,850.22
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/03/2022   Deposit                                    Deposit                                                                                          CASH -               2,578.30     8,428.52
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/03/2022   Deposit                                    Deposit                                                                                          CASH -                   676.00   9,104.52
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/03/2022   Deposit                                    Deposit                                                                                          CASH -                   655.22   9,759.74
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/03/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -                   113.01   9,872.75
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/03/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -                    96.80   9,969.55
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/04/2022   Deposit         SUNTRUST                   SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH CO ID:1593177343 CCD             CASH -                   130.00 10,099.55
                                MERCHNT DES                                                                                                                 UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/04/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -                   257.01 10,356.56
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/06/2022   Deposit                                    Deposit                                                                                          CASH -                    64.14 10,420.70
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/07/2022   Deposit                                    Deposit                                                                                          CASH -                   100.00 10,520.70
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/10/2022   Deposit                                    Deposit                                                                                          CASH -               2,106.50 12,627.20
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/10/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -                   651.31 13,278.51
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/10/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -                   611.13 13,889.64
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/11/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M                                   CASH -                    16.69 13,906.33
                                3RD BANKCARD                                                                                                                UNRESTRICTED:BOA
                                SYS                                                                                                                         #2297 OPERATING
   01/11/2022   Deposit                                    Deposit                                                                                          CASH -                   150.00 14,056.33
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/12/2022   Deposit                                    Deposit                                                                                          CASH -                   135.00 14,191.33
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/12/2022   Deposit                                    Deposit                                                                                          CASH -                   310.00 14,501.33
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/12/2022   Deposit                                    Deposit                                                                                          CASH -                   772.00 15,273.33
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/12/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M                                   CASH -                   242.45 15,515.78
                                3RD BANKCARD                                                                                                                UNRESTRICTED:BOA
                                SYS                                                                                                                         #2297 OPERATING
   01/13/2022   Deposit         SUNTRUST                   SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH CO ID:1593177343 CCD             CASH -                   413.00 15,928.78
                                MERCHNT DES                                                                                                                 UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/13/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                  CO   CASH -                    28.83 15,957.61
                                3RD BANKCARD               ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                     UNRESTRICTED:BOA
                                SYS                        GIV*UNIVCITYCHURNC    BC                                                                         #2297 OPERATING
   01/13/2022   Deposit                                    Deposit                                                                                          CASH -                   225.00 16,182.61
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/18/2022   Deposit                                    Deposit                                                                                          CASH -                    40.00 16,222.61
                                                                                                                                                            UNRESTRICTED:BOA
                                                                                                                                                            #2297 OPERATING
   01/18/2022   Deposit         GIVELIFY - 5TH             5/3 BANKCARD SYS DES:DEPOSIT         ID:XXXXX26532200             INDN:GIV*UNIVCITYCHURNC   CO   CASH -                   450.91 16,673.52



                                                                           Accrual Basis Monday, February 21, 2022 03:07 PM GMT-05:00                                                             1/6
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                                                                                                CITY CHURCH
                                                                                             Statement of Activity Detail
                                                                                                       January 2022


DATE              TRANSACTION NUM NAME              CLASS      MEMO/DESCRIPTION                                                                                               SPLIT               AMOUNT BALANCE
                  TYPE
                                   3RD BANKCARD                ID:XXXXX81170 CCD          PMT INFO: 5/3 BANKCARD          VISA/MC DEP 44450265         32200                  UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC         BC                                                                                  #2297 OPERATING
   01/18/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                513.43 17,186.95
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
   01/18/2022     Deposit                                      Deposit                                                                                                        CASH -               2,685.00 19,871.95
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/18/2022     Deposit                                      Deposit                                                                                                        CASH -                160.00 20,031.95
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/19/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                970.70 21,002.65
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
   01/20/2022     Deposit          CashApp          Income     1       01/20 #000315995 PMNT RCVD                  Cash App*Cash Out San Francisco CA                CKCD     CASH -               1,500.00 22,502.65
                                                               6536 XXXXXXXXXXXX8655                                                                                          UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/20/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                353.81 22,856.46
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
   01/20/2022     Deposit                                      Deposit                                                                                                        CASH -                434.00 23,290.46
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/21/2022     Deposit                                      Deposit                                                                                                        CASH -                555.00 23,845.46
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/24/2022     Deposit                                      Deposit                                                                                                        CASH -               1,750.00 25,595.46
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/24/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                862.39 26,457.85
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
   01/24/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                402.36 26,860.21
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
   01/24/2022     Deposit                                      Deposit                                                                                                        CASH -                950.00 27,810.21
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/25/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                247.30 28,057.51
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
   01/26/2022     Deposit                                      Deposit                                                                                                        CASH -                425.00 28,482.51
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/28/2022     Deposit                                      Deposit                                                                                                        CASH -                510.00 28,992.51
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/31/2022     Deposit                                      Deposit                                                                                                        CASH -               3,368.50 32,361.01
                                                                                                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/31/2022     Deposit          GIVELIFY - 5TH              5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200      INDN:GIV*UNIVCITYCHURNC                       CO            CASH -                751.01 33,112.02
                                   3RD BANKCARD                ID:XXXXX81170 CCD     PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265      32200                                   UNRESTRICTED:BOA
                                   SYS                         GIV*UNIVCITYCHURNC    BC                                                                                       #2297 OPERATING
  Total for GENERAL TITHES & OFFERINGS                                                                                                                                                           $33,112.02
 Total for UNRESTRICTED SUPPORT & REVENUE                                                                                                                                                        $40,862.02
 Total for Revenue                                                                                                                                                                               $40,862.02
 Expenditures
 ADMINISTRATIVE EXPENSES
  BANK SERVICE CHARGES
   01/03/2022     Expenditure      BANK SERVICES    Church     Monthly Fee Business Adv Relationship                                                                          CASH -                  29.95     29.95
                                   CHARGES          Expenses                                                                                                                  UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/03/2022     Expenditure                                  MERCHANT BANKCD DES:DEPOSIT             ID:XXXXX3588884            INDN:THE CITY CHURCH - CHUR CO              CASH -                121.17    151.12
                                                               ID:G592126793 CCD                                                                                              UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/11/2022     Expenditure                                  NSF: RETURNED ITEM FEE FOR ACTIVITY OF 01-11                   ELECTRONIC TRANSACTION                          CASH -                  35.00   186.12
                                                               POSTING DATE 01-11-22 POSTING SEQ 00001                                                                        UNRESTRICTED:BOA
                                                                                                                                                                              #2307 AUXILLARY
  Total for BANK SERVICE CHARGES                                                                                                                                                                   $186.12
  DUES & SUBSCRIPTIONS
   Apple
   01/10/2022 Expenditure          Apple            Church     CHECKCARD 0107 PAYPAL *APPLE.                           San Jose    CA                          CKCD 6051      CASH -                   2.99      2.99
                                                    Expenses   XXXXXXXXXXXX8655                                                                                               UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/11/2022 Expenditure          Apple            Church     CHECKCARD 0111 PAYPAL *apple.                         San Jose     CA                       CKCD 6051          CASH -                  17.15     20.14
                                                    Expenses   XXXXXXXXXXXX8655                                                                                               UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/18/2022 Expenditure          Apple            Church     CHECKCARD 0117 PAYPAL *apple.                         San Jose     CA                       CKCD 6051          CASH -                  10.71     30.85
                                                    Expenses   XXXXXXXXXXXX8655                                                                                               UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/20/2022 Expenditure          Apple            Church     CHECKCARD 0120 APPLE.COM/US                             800-676-2775 CA 55432862020200249967644                CASH -                106.18    137.03
                                                    Expenses   CKCD 5732 XXXXXXXXXXXX8655                                                                                     UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   Total for Apple                                                                                                                                                                                 $137.03
   ShutterStock
   01/03/2022 Expenditure          ShutterStock                CHECKCARD 0103 STK*Shutterstock                       8666633954 NY 12302022003000649855856 RECURRING          CASH -                  52.56     52.56
                                                               CKCD 7333 XXXXXXXXXXXX8655                                                                                     UNRESTRICTED:BOA
                                                                                                                                                                              #2297 OPERATING
   01/18/2022 Expenditure                                      CHECKCARD 0116 CANVA* I03302-211                        CAMDEN          DE 82305092016000017268722 RECURRING   CASH -                  12.99     65.55



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       TYPE
                                      CKCD 7221 XXXXXXXXXXXX8655                                                            UNRESTRICTED:BOA
                                                                                                                            #2297 OPERATING




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DATE               TRANSACTION NUM NAME                     CLASS              MEMO/DESCRIPTION                                                                                    SPLIT                      AMOUNT BALANCE
                   TYPE
  Total for ShutterStock                                                                                                                                                                                        $65.55
  SOFTWARE
   01/03/2022 Expenditure                  Microsoft                           PURCHASE 0103 MSFT * E0400GZZMJ                         MSBILL.INFO WA                              CASH -UNRESTRICTED:BOA         41.83     41.83
                                                                               15270212003000015847626 RECURRING                CKCD 5045 XXXXXXXXXXXX8655                         #2297 OPERATING
   01/10/2022 Expenditure                  INTUIT           Church Expenses    CHECKCARD 0110 INTUIT 18004I           MOUNTAIN VIEWCA 00000000000000000165857                      CASH -UNRESTRICTED:BOA       161.00     202.83
                                           QUICKBOOKS                          RECURRING     CKCD 5734 XXXXXXXXXXXX2883                                                            #2297 OPERATING
   01/10/2022 Expenditure                  HighTail Pro     MANAGEMENT &       PURCHASE 0109 HIGHTAIL PRO PLAN                           CAMPBELL        CA 82305092010000004040502 CASH -UNRESTRICTED:BOA        10.00    212.83
                                                            GENERAL            RECURRING     CKCD 5734 XXXXXXXXXXXX8655                                                             #2297 OPERATING
   01/18/2022 Expenditure                                                      PURCHASE 0116 Adobe Inc              8008336687 CA 15270212016000089777241                          CASH -UNRESTRICTED:BOA         32.16    244.99
                                                                               RECURRING     CKCD 5817 XXXXXXXXXXXX8655                                                            #2297 OPERATING
   01/21/2022 Expenditure                  CONSTANT         Church Expenses    CHECKCARD 0120 EIG*CONSTANTCONTA                           855-2295506 MA                           CASH -UNRESTRICTED:BOA         45.00    289.99
                                           CONTACT                             75418232020138925250293 RECURRING                CKCD 5968 XXXXXXXXXXXX8655                         #2297 OPERATING
   01/26/2022 Expenditure                  INTUIT           Church Expenses    CHECKCARD 0125 INTUIT *QuickBooks Onli                  CL.INTUIT.COMCA                             CASH -UNRESTRICTED:BOA         80.00    369.99
                                           QUICKBOOKS                          24692162025100402425490 RECURRING                CKCD 5734 XXXXXXXXXXXX5552                         #2297 OPERATING
   01/31/2022 Expenditure                                                      CHECKCARD 0129 ADOBE ACROPRO SUB                           4085366000 CA                            CASH -UNRESTRICTED:BOA         16.08    386.07
                                                                               52704872029700553440508 RECURRING                CKCD 5734 XXXXXXXXXXXX8655                         #2297 OPERATING
  Total for SOFTWARE                                                                                                                                                                                           $386.07
  Total for DUES & SUBSCRIPTIONS                                                                                                                                                                               $588.65
  POSTAGE & PRINTING
  01/05/2022       Expenditure             FEDERAL                             CHECKCARD 0104 FEDEX 436873353                           800-4633339 TN 15410192004741368733533     CASH -UNRESTRICTED:BOA         17.05     17.05
                                           EXPRESS                             CKCD 4215 XXXXXXXXXXXX8655                                                                          #2297 OPERATING
  Total for POSTAGE & PRINTING                                                                                                                                                                                  $17.05
 Total for ADMINISTRATIVE EXPENSES                                                                                                                                                                             $791.82
 Billing Expenses
  Advertising/Promotional
  01/10/2022       Expenditure                                                 CHECKCARD 0108 PROJECT BROADCAST                           IRVING  TX                               CASH -UNRESTRICTED:BOA         50.00     50.00
                                                                               82305092009000000393783 RECURRING                CKCD 8299 XXXXXXXXXXXX8655                         #2297 OPERATING
  Total for Advertising/Promotional                                                                                                                                                                             $50.00
  Aqua
  01/13/2022       Expenditure                                                 CHECKCARD 0113 Aqua Services                          Bryn Mawr    PA                        CKCD   CASH -UNRESTRICTED:BOA      1,080.49   1,080.49
                                                                               4900 XXXXXXXXXXXX8655                                                                               #2297 OPERATING
  Total for Aqua                                                                                                                                                                                              $1,080.49
  AT&T
  01/20/2022       Expenditure             AT&T                                CHECKCARD 0119 AT&T *PAYMENT                             800-288-2020 TX 55432862019200179988969    CASH -UNRESTRICTED:BOA       273.01     273.01
                                                                               CKCD 4814 XXXXXXXXXXXX8655                                                                          #2297 OPERATING
  Total for AT&T                                                                                                                                                                                               $273.01
  Benfield Sanitation
  01/11/2022       Expenditure             Benfield         Church Expenses    BENFIELD SANITATI                                                                                   CASH -UNRESTRICTED:BOA       271.01     271.01
                                           Sanitation                                                                                                                              #2297 OPERATING
  Total for Benfield Sanitation                                                                                                                                                                                $271.01
  Church Mutual Insurance
  01/03/2022       Expenditure                                                 CHECKCARD 1231 AAA CAROLINAS                             7045693600 NC 55546502001286011123522      CASH -UNRESTRICTED:BOA       144.00     144.00
                                                                               CKCD 8675 XXXXXXXXXXXX8655                                                                          #2297 OPERATING
  01/31/2022       Expenditure             Church Mutual                       CHURCH-MUTUAL DES:INS-PMNTS                                                                         CASH -UNRESTRICTED:BOA      1,400.00   1,544.00
                                                                                                                                                                                   #2297 OPERATING
  Total for Church Mutual Insurance                                                                                                                                                                           $1,544.00
  City of Charlotte
  01/24/2022       Expenditure             CITY OF                             CITY OF CHARLO                                                                                      CASH -UNRESTRICTED:BOA       629.40     629.40
                                           CHARLOTTE                                                                                                                               #2297 OPERATING
  Total for City of Charlotte                                                                                                                                                                                  $629.40
  Electricities
  01/05/2022       Expenditure             ElectriCities                       Customer Withdrawal Image                                                                           CASH -UNRESTRICTED:BOA      2,956.45   2,956.45
                                                                                                                                                                                   #2297 OPERATING
  Total for Electricities                                                                                                                                                                                     $2,956.45
  Piedmont Natural Gas
  01/10/2022       Expenditure             PIEDMONT         Church Expenses    CHECKCARD 0110 PiedmontNG                             Charlotte   NC                        CKCD    CASH -UNRESTRICTED:BOA       403.50     403.50
                                           NATURAL GAS                         9399 XXXXXXXXXXXX8655                                                                               #2297 OPERATING
  01/10/2022       Expenditure             PIEDMONT         Church Expenses    CHECKCARD 0110 PiedmontNG                             Charlotte   NC                        CKCD    CASH -UNRESTRICTED:BOA         57.23    460.73
                                           NATURAL GAS                         9399 XXXXXXXXXXXX8655                                                                               #2297 OPERATING
  01/20/2022       Expenditure             PIEDMONT         Church Expenses    CHECKCARD 0120 PiedmontNG                             Charlotte   NC                        CKCD    CASH -UNRESTRICTED:BOA      2,500.00   2,960.73
                                           NATURAL GAS                         9399 XXXXXXXXXXXX8655                                                                               #2297 OPERATING
  Total for Piedmont Natural Gas                                                                                                                                                                              $2,960.73
  United Health One
  01/10/2022       Expenditure             United Health One Church Expenses   UNITEDHEALTHONE DES:INS. PREM. ID:XXXXX3012                       INDN:              CO             CASH -UNRESTRICTED:BOA      1,254.73   1,254.73
                                                                               ID:XXXXX00018 PPD                                                                                   #2297 OPERATING
  Total for United Health One                                                                                                                                                                                 $1,254.73
  Zoom
  01/14/2022       Expenditure                                                 CHECKCARD 0113 RESTREAM, INC.            AUSTIN                        TX 82711162013000013252573   CASH -UNRESTRICTED:BOA         19.00     19.00
                                                                               RECURRING     CKCD 5815 XXXXXXXXXXXX8655                                                            #2297 OPERATING
  Total for Zoom                                                                                                                                                                                                $19.00
 Total for Billing Expenses                                                                                                                                                                                  $11,038.82
 Church Expenses
  Books, Study Materials, etc.
  01/26/2022       Expenditure             AMAZON           Church Expenses    CHECKCARD 0126 Amazon Prime*7Y6E                          Amzn.com/billWA 55432862026200990112295   CASH -UNRESTRICTED:BOA         13.93     13.93
                                                                               RECURRING     CKCD 5968 XXXXXXXXXXXX8655                                                            #2297 OPERATING
  01/26/2022       Expenditure             AMAZON           Church Expenses    CHECKCARD 0126 Amazon.com*ZZ2NC3             Amzn.com/billWA                                        CASH -UNRESTRICTED:BOA         30.50     44.43
                                                                               55432862026200109702028        CKCD 5942 XXXXXXXXXXXX8655                                           #2297 OPERATING
  01/26/2022       Expenditure             AMAZON           Church Expenses    CHECKCARD 0125 AMZN Mktp US*QF0W             Amzn.com/billWA                                        CASH -UNRESTRICTED:BOA         52.54     96.97
                                                                               55432862025200896456649        CKCD 5942 XXXXXXXXXXXX8655                                           #2297 OPERATING
  Total for Books, Study Materials, etc.                                                                                                                                                                        $96.97
 Total for Church Expenses                                                                                                                                                                                      $96.97
 Contractors
  Contract Payment
  01/02/2022       Check           2888 Marc Moore          Contract Fees      Musician Fee Jan. 2022                                                                              CASH -UNRESTRICTED:BOA      1,250.00   1,250.00



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                 TYPE
                                                                                                                                                                #2297 OPERATING
  01/02/2022     Check              2889 Steve Dalton      Contract Fees   Musician Fee jan 2022                                                                CASH -UNRESTRICTED:BOA     375.00    1,625.00
                                                                                                                                                                #2297 OPERATING
  01/14/2022     Check              2894 Vanessa M         Contract Fees   Admin fee                                                                            CASH -UNRESTRICTED:BOA     750.00    2,375.00
                                         Gilcreast                                                                                                              #2297 OPERATING
  01/16/2022     Check              2896 Marc Moore        Contract Fees   contract fee                                                                         CASH -UNRESTRICTED:BOA    1,250.00   3,625.00
                                                                                                                                                                #2297 OPERATING
  01/16/2022     Check              2895 Steve Dalton      Contract Fees   Contract payment                                                                     CASH -UNRESTRICTED:BOA     375.00    4,000.00
                                                                                                                                                                #2297 OPERATING
  01/16/2022     Check              2897 Rodney McCoy      Contract Fees   musician fee                                                                         CASH -UNRESTRICTED:BOA     125.00    4,125.00
                                                                                                                                                                #2297 OPERATING
  01/21/2022     Check              2899 Matthew Stevens   Contract Fees   Media Team PM Stipend                                                                CASH -UNRESTRICTED:BOA    1,000.00   5,125.00
                                                                                                                                                                #2297 OPERATING
  01/23/2022     Check              2900 Rodney McCoy      Contract Fees   Musician Pay                                                                         CASH -UNRESTRICTED:BOA        0.00   5,125.00
                                                                                                                                                                #2297 OPERATING
  01/31/2022     Check              2902 Vanessa M         Contract Fees   Contract payment for Admin                                                           CASH -UNRESTRICTED:BOA     750.00    5,875.00
                                         Gilcreast                                                                                                              #2297 OPERATING
  Total for Contract Payment                                                                                                                                                             $5,875.00
 Total for Contractors                                                                                                                                                                   $5,875.00
 Donations
  Gifts to Other Ministries
  01/31/2022     Expenditure             COGIC                             CHECKCARD 0128 COGIC LEADERSHIP             7738913032 TN                            CASH -UNRESTRICTED:BOA     100.00     100.00
                                         LEADERSHIP                        55310202028083720530505       CKCD 8661 XXXXXXXXXXXX8655                             #2297 OPERATING
  Total for Gifts to Other Ministries                                                                                                                                                     $100.00
 Total for Donations                                                                                                                                                                      $100.00




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DATE                TRANSACTION NUM       NAME                        CLASS             MEMO/DESCRIPTION                                                                                  SPLIT                     AMOUNT BALANCE
                    TYPE
 Job Supplies
  01/05/2022        Expenditure           OFFICE DEPOT                                  CHECKCARD 0104 OFFICE DEPOT #121             800-463-3768 GA                                      CASH -UNRESTRICTED:BOA      118.15     118.15
                                                                                        02305372005500230559374        CKCD 5965 XXXXXXXXXXXX8655                                         #2297 OPERATING
  01/07/2022        Expenditure                                                         CHECKCARD 0106 HOMEDEPOT.COM               800-430-3376 GA                                        CASH -UNRESTRICTED:BOA        53.60    171.75
                                                                                        52707152007010179526411      CKCD 5200 XXXXXXXXXXXX8655                                           #2297 OPERATING
  01/10/2022        Expenditure                                                         CHECKCARD 0106 HOMEDEPOT.COM               800-430-3376 GA                                        CASH -UNRESTRICTED:BOA      245.60     417.35
                                                                                        52707152007010180052589      CKCD 5200 XXXXXXXXXXXX8655                                           #2297 OPERATING
  01/10/2022        Expenditure                                                         CHECKCARD 0106 HOMEDEPOT.COM               800-430-3376 GA                                        CASH -UNRESTRICTED:BOA        37.54    454.89
                                                                                        52707152007010179263395      CKCD 5200 XXXXXXXXXXXX8655                                           #2297 OPERATING
 Total for Job Supplies                                                                                                                                                                                              $454.89
 Meals & Entertainment
  01/06/2022        Expenditure                                                         CHECKCARD 0105 HOT N JUICY CRAWF             LAS VEGAS NV                                         CASH -UNRESTRICTED:BOA        38.78     38.78
                                                                                        52704872006796657919303        CKCD 5812 XXXXXXXXXXXX8655                                         #2297 OPERATING
 Total for Meals & Entertainment                                                                                                                                                                                      $38.78
 MERCHANT FEES
  01/11/2022        Expenditure                                                         SUNTRUST MERCHNT DES:MC VI DEP ID:XXXXX1763889                        INDN:CITY CHURCH            CASH -UNRESTRICTED:BOA      260.08     260.08
                                                                                        CO ID:XXXXX77343 CCD                                                                              #2297 OPERATING
 Total for MERCHANT FEES                                                                                                                                                                                             $260.08
 PAYROLL EXPENSES
  Pastor Allowance
   01/02/2022       Check          2890   Michael A. Stevens Sr.      Pastoral Care     Jan 2022 Allowance                                                                                CASH -UNRESTRICTED:BOA     3,500.00   3,500.00
                                                                                                                                                                                          #2297 OPERATING
  Total for Pastor Allowance                                                                                                                                                                                        $3,500.00
  PAYROLL SERVICE
   01/07/2022       Expenditure           ADP Inc.                    MANAGEMENT &      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 6312468                     INDN:City Church        CO   CASH -UNRESTRICTED:BOA        58.46     58.46
                                                                      GENERAL           ID:XXXXX05001 CCD                                                                                 #2307 AUXILLARY
   01/21/2022       Expenditure           ADP Inc.                    MANAGEMENT &      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 0518694                     INDN:City Church        CO   CASH -UNRESTRICTED:BOA        58.46    116.92
                                                                      GENERAL           ID:XXXXX05001 CCD                                                                                 #2307 AUXILLARY
   01/26/2022       Expenditure           ADP Inc.                    MANAGEMENT &      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 2329498                     INDN:City Church        CO   CASH -UNRESTRICTED:BOA        98.65    215.57
                                                                      GENERAL           ID:XXXXX05001 CCD                                                                                 #2307 AUXILLARY
  Total for PAYROLL SERVICE                                                                                                                                                                                          $215.57
  PAYROLL TAXES
   01/14/2022       Expenditure           ADP TAX                                       ADP Tax     DES:ADP Tax        ID:RU5NZ 3322748VV               INDN:CITY CHURCH        CO        CASH -UNRESTRICTED:BOA     1,161.97   1,161.97
                                                                                        ID:XXXXX11111 CCD                                                                                 #2307 AUXILLARY
   01/25/2022       Expenditure           ADP TAX                                       ADP Tax     DES:ADP Tax        ID:RU5NZ 012602A01               INDN:CITY CHURCH        CO        CASH -UNRESTRICTED:BOA     1,161.98   2,323.95
                                                                                        ID:XXXXX11111 CCD                                                                                 #2307 AUXILLARY
  Total for PAYROLL TAXES                                                                                                                                                                                           $2,323.95
  SALARIES & WAGES
   01/12/2022       Check          50374 Sharon Stevens                                 Check 50374                                                                                       CASH -UNRESTRICTED:BOA     1,548.01   1,548.01
                                                                                                                                                                                          #2307 AUXILLARY
   01/12/2022       Check          50373 Pastor Michael Stevens                         Check 50373                                                                                       CASH -UNRESTRICTED:BOA     1,980.12   3,528.13
                                                                                                                                                                                          #2307 AUXILLARY
   01/14/2022       Check          50375 Brittany Stinson                               Check 50375                                                                                       CASH -UNRESTRICTED:BOA      277.05    3,805.18
                                                                                                                                                                                          #2307 AUXILLARY
   01/14/2022       Check          50372 TImothy G. Boddy                               Check Image 50372                                                                                 CASH -UNRESTRICTED:BOA     1,009.27   4,814.45
                                                                                                                                                                                          #2307 AUXILLARY
   01/26/2022       Check          50378 Sharon Stevens                                 Check 50378                                                                                       CASH -UNRESTRICTED:BOA     1,548.00   6,362.45
                                                                                                                                                                                          #2307 AUXILLARY
   01/26/2022       Check          50377 Pastor Michael Stevens                         Check 50377                                                                                       CASH -UNRESTRICTED:BOA     1,980.12   8,342.57
                                                                                                                                                                                          #2307 AUXILLARY
   01/31/2022       Check          50379 Brittany Stinson                               Check 50379                                                                                       CASH -UNRESTRICTED:BOA      277.05    8,619.62
                                                                                                                                                                                          #2307 AUXILLARY
  Total for SALARIES & WAGES                                                                                                                                                                                        $8,619.62
 Total for PAYROLL EXPENSES                                                                                                                                                                                        $14,659.14
 PROGRAM EXPENSES
  ADVERTISING
   CLASSIFIED ADS
   01/03/2022 Expenditure                 INDEED                                        INDEED                                                                                            CASH -UNRESTRICTED:BOA      149.82     149.82
                                                                                                                                                                                          #2297 OPERATING
   Total for CLASSIFIED ADS                                                                                                                                                                                          $149.82
  Total for ADVERTISING                                                                                                                                                                                              $149.82
  BENEVOLENCE & DONATION EXPENSE
   01/07/2022       Deposit               COGIC LEADERSHIP                              CHECKCARD 0106 COGIC LEADERSHIP             7738913032 TN                                         CASH -UNRESTRICTED:BOA      -300.00    -300.00
                                                                                        55310202006083002238864       CKCD 8661 XXXXXXXXXXXX8655                                          #2297 OPERATING
  Total for BENEVOLENCE & DONATION EXPENSE                                                                                                                                                                          $ -300.00
 Total for PROGRAM EXPENSES                                                                                                                                                                                         $ -150.18
 Reimbursable Expenses
  01/18/2022        Check          2898   Pastor Michael Stevens      Church Expenses                                                                                                     CASH -UNRESTRICTED:BOA     3,150.51   3,150.51
                                                                                                                                                                                          #2297 OPERATING
 Total for Reimbursable Expenses                                                                                                                                                                                    $3,150.51
 Travel
  01/05/2022        Expenditure           Fairfield Inn & Suites by                     CHECKCARD 0104 MARRIOTT MEMPHIS             MEMPHIS  TN                                           CASH -UNRESTRICTED:BOA         6.00       6.00
                                          Marriott Saginaw                              55432862004200777474757      CKCD 3509 XXXXXXXXXXXX8655                                           #2297 OPERATING
 Total for Travel                                                                                                                                                                                                       $6.00
 Uncategorized Expense
  01/24/2022        Expenditure                                                         CHECKCARD 0121 PARAMOUNT+                              8882745343 CA                              CASH -UNRESTRICTED:BOA        64.04     64.04
                                                                                        52704872021700909974505 RECURRING                CKCD 4899 XXXXXXXXXXXX2883                       #2297 OPERATING
 Total for Uncategorized Expense                                                                                                                                                                                      $64.04
 Total for Expenditures                                                                                                                                                                                            $36,385.87
Net Revenue                                                                                                                                                                                                         $4,476.15




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                                                                 City Church, $CityChurchCOGIC




                                               $1,298.42                                            $461.31
                                              JAN 1ST BALANCE                                    JAN 31ST BALANCE




                                      Sent & Received


                                      Jan 2             Linda Powell           tithe                  $-1.65 Fee      $60.00
                                                                                                                   Cash Balance




                                      Jan 2             Lucretia Neal Bortey   offering               $-0.28 Fee       $10.00
                                                                                                                   Cash Balance




                                      Jan 9        D    Delorise Ragins                               $-0.69 Fee      $25.00
                                                                                                                   Cash Balance




                                      Jan 9             John Redmond           Elder John Redmond     $-1.38 Fee      $50.00
                                                                                                                   Cash Balance




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                                      Jan 9      B     Bradford Powell                               $-3.30 Fee     $120.00
                                                                                                                  Cash Balance




                                                                                                         $-0.82      $30.00
                                      Jan 9      M     Mary Cameron           Mary Cameron; 12623 C…     Fee      Cash Balance




                                      Jan 9      B     Briaa Love             🌱🙏🏾                    $-0.14 Fee        $5.00
                                                                                                                  Cash Balance




                                      Jan 9            Regina Lackey          tithe                  $-2.48 Fee      $90.00
                                                                                                                  Cash Balance




                                      Jan 10           GCFC Bishop Hutc…      January 2022 Fellowship Support      -$500.00
                                                                                                                  Cash Balance




                                      Jan 11     J     Joyce                  Offering               $-0.55 Fee      $20.00
                                                                                                                  Cash Balance




                                      Jan 14     A     Asonja Carter                                 $-1.65 Fee      $60.00
                                                                                                                  Cash Balance




                                      Jan 15     A     Alvin Hall             gift for future                      -$100.00
                                                                                                                  Cash Balance




                                      Jan 16           John Redmond           Elder John Redmond     $-1.38 Fee      $50.00
                                                                                                                  Cash Balance




                                      Jan 16     D     Delorise Ragins                               $-0.69 Fee      $25.00
                                                                                                                  Cash Balance



https://cash.app/statements/January-2022                                                                                         2/6
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                                      Jan 16           Stephanie Magwood                                  $-1.38 Fee       $50.00
                                                                                                                        Cash Balance




                                      Jan 16     P     Patricia Johnson         psalmist for Sunday, Jan 16th            -$100.00
                                                                                                                        Cash Balance




                                      Jan 17           Restoration Deliver…     jan rent                  $-11.00 Fee     $400.00
                                                                                                                        Cash Balance




                                                                                                           $-4.12         $150.00
                                      Jan 20     S     Sharon Stevens           tithes for Steez Trans…    Fee          Cash Balance




                                      Jan 20           Cash Out                 Cashed Out                              -$1500.00
                                                                                                                          Debit 8655




                                      Jan 23     D     Delorise Ragins          offering                  $-0.69 Fee       $25.00
                                                                                                                        Cash Balance




                                      Jan 23     B     Bradford Powell                                    $-3.58 Fee      $130.00
                                                                                                                        Cash Balance




                                      Jan 23           John Redmond             Elder John Redmond        $-0.69 Fee       $25.00
                                                                                                                        Cash Balance




                                      Jan 23     M     Melissa Pelham           M. Pelham - Tithe         $-2.75 Fee      $100.00
                                                                                                                        Cash Balance




https://cash.app/statements/January-2022                                                                                               3/6
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                                                                                                              $-0.69      $25.00
                                      Jan 23        M     Mary Cameron               Mary Cameron; 12623 C…   Fee      Cash Balance




                                      Jan 23        P     Patricia Johnson           offering             $-0.82 Fee      $30.00
                                                                                                                       Cash Balance




                                      Jan 30              Elton Benjamin             Feb. 6th Flyer                     -$125.00
                                                                                                                       Cash Balance




                                      Jan 30              John Redmond               Elder John Redmond   $-0.69 Fee      $25.00
                                                                                                                       Cash Balance




                                      Jan 30        D     Delorise Ragins            offering             $-0.69 Fee      $25.00
                                                                                                                       Cash Balance




                                      Card Payments


                                           No transactions this month




                                      Fees


                                      Fees Paid This Month                   $0.00
                                      Fees Paid This Year                    $0.00

https://cash.app/statements/January-2022                                                                                              4/6
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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               1.888.BUSINESS (1.888.287.4637)

                                                                                               bankofamerica.com
  CITY CHURCH
                                                                                               Bank of America, N.A.
  1994 UNIVERSITY CITY CHURCH DR
                                                                                               P.O. Box 25118
  HUNTERSVILLE, NC 28078-8236                                                                  Tampa, FL 33622-5118




Your Business Advantage Relationship Banking
for January 1, 2022 to January 31, 2022                                                  Account number:                         2
CITY CHURCH

Account summary
Beginning balance on January 1, 2022                                     $2,815.83   # of deposits/credits: 47
Deposits and other credits                                               41,362.02   # of withdrawals/debits: 59
Withdrawals and other debits                                            -25,003.27   # of items-previous cycle¹: 71
Checks                                                                  -12,274.34   # of days in cycle: 31
Service fees                                                                -29.95   Average ledger balance: $4,942.31
Ending balance on January 31, 2022                                      $6,870.29    ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 57 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NC                                                                  Page 1 of 10
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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CITY CHURCH ! Account #       2297 ! January 1, 2022 to January 31, 2022




Deposits and other credits
Date        Description                                                                                            Amount

01/03/22    MERCHANT BANKCD DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                     3,350.00
            ID:GXXXXXXXXX CCD

01/03/22    Deposit                                                                                             2,578.30

01/03/22    MERCHANT BANKCD DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                     1,404.97
            ID:GXXXXXXXXX CCD

01/03/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC     CO                        1,095.25
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/03/22    Deposit                                                                                                676.00
01/03/22    MERCHANT BANKCD DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        655.22
            ID:GXXXXXXXXX CCD

01/03/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC     CO                           113.01
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/03/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC     CO                            96.80
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/04/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC     CO                           257.01
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/04/22    SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH          CO                            130.00
            ID:1593177343 CCD

01/06/22    MECKLENBURG AREA DES:A/P-EFT    ID:13402 INDN:CITY CHURCH CHURCH OF CO                              4,750.00
            ID:1561779865 CCD

01/06/22    MERCHANT BANKCD DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                         64.14
            ID:GXXXXXXXXX CCD

01/07/22    CHECKCARD 0106 COGIC LEADERSHIP 7738913032 TN 5531020200608300223                                      300.00

01/07/22    MERCHANT BANKCD DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        100.00
            ID:GXXXXXXXXX CCD

01/10/22    MERCHANT BANKCD DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                     2,106.50
            ID:GXXXXXXXXX CCD
                                                                                                   continued on the next page




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Deposits and other credits - continued
Date        Description                                                                                                Amount

01/10/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          651.31
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/10/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          611.13
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/11/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        150.00
            ID:GXXXXXXXXX CCD

01/11/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                           16.69
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/12/22    Deposit                                                                                                    772.00

01/12/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        310.00
            ID:GXXXXXXXXX CCD

01/12/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          242.45
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/12/22    Deposit                                                                                                    135.00

01/13/22    SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH               CO                           413.00
            ID:1593177343 CCD

01/13/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        225.00
            ID:GXXXXXXXXX CCD

01/13/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                           28.83
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/18/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                     2,685.00
            ID:GXXXXXXXXX CCD

01/18/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          513.43
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/18/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          450.91
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/18/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        160.00
            ID:GXXXXXXXXX CCD

01/18/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                         40.00
            ID:GXXXXXXXXX CCD

01/19/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          970.70
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/20/22    1             01/20 #000315995 PMNT RCVD Cash App*Cash Out San Francisco CA                             1,500.00

01/20/22    MERCHANT BANKCD DES:DEPOSIT          ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        434.00
            ID:GXXXXXXXXX CCD

01/20/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC          CO                          353.81
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC
                                                                                                       continued on the next page




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Deposits and other credits - continued
Date        Description                                                                                               Amount

01/21/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        555.00
            ID:GXXXXXXXXX CCD

01/24/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                     1,750.00
            ID:GXXXXXXXXX CCD

01/24/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        950.00
            ID:GXXXXXXXXX CCD

01/24/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC         CO                          862.39
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/24/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC         CO                          402.36
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/25/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC         CO                          247.30
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/26/22    Deposit                                                                                                3,000.00

01/26/22    Deposit                                                                                                   425.00

01/28/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        510.00
            ID:GXXXXXXXXX CCD

01/31/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                     3,368.50
            ID:GXXXXXXXXX CCD

01/31/22    5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC         CO                          751.01
            ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
            GIV*UNIVCITYCHURNC     BC

01/31/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                        200.00
            ID:GXXXXXXXXX CCD

Total deposits and other credits                                                                             $41,362.02


Withdrawals and other debits
Date        Description                                                                                              Amount
01/03/22    MERCHANT BANKCD DES:DEPOSIT         ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                       -121.17
            ID:GXXXXXXXXX CCD
01/05/22    Customer Withdrawal Image                                                                             -2,956.45
01/10/22    UNITEDHEALTHONE DES:INS. PREM. ID:XXXXXXXXX INDN:                 CO ID:9005900018                    -1,254.73
            PPD
01/11/22    SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH            CO                            -260.08
            ID:1593177343 CCD
01/12/22    Online Banking transfer to CHK 2307 Confirmation# 7396417034                                          -6,000.00
01/24/22    Online Banking transfer to CHK 2307 Confirmation# 6506341675                                          -5,000.00
01/25/22    Online Banking transfer to CHK 2307 Confirmation# 5215963465                                          -1,000.00
01/28/22    Online Banking transfer to CHK 2307 Confirmation# 3140912383                                               -17.00
01/31/22    Online Banking transfer to CHK 2307 Confirmation# 7246589838                                               -50.00
                                                                                                     continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                               Amount
Card account # XXXX XXXX XXXX 2883
01/10/22    CHECKCARD 0110 INTUIT 18004I MOUNTAIN VIEWCA 00000000000000000165857                                      -161.00
            RECURRING CKCD 5734 XXXXXXXXXXXX2883 XXXX XXXX XXXX 2883
01/24/22    CHECKCARD 0121 PARAMOUNT+ 8882745343 CA 52704872021700909974505 RECURRING                                  -64.04
            CKCD 4899 XXXXXXXXXXXX2883 XXXX XXXX XXXX 2883
Subtotal for card account # XXXX XXXX XXXX 2883                                                                  -$225.04
Card account # XXXX XXXX XXXX 5552
01/26/22    CHECKCARD 0125 INTUIT *QuickBooks Onli CL.INTUIT.COMCA 24692162025100402425490                              -80.00
            RECURRING CKCD 5734 XXXXXXXXXXXX5552 XXXX XXXX XXXX 5552
Subtotal for card account # XXXX XXXX XXXX 5552                                                                     -$80.00
Card account # XXXX XXXX XXXX 8655
01/03/22    CHECKCARD 1231 AAA CAROLINAS 7045693600 NC 55546502001286011123522 CKCD 8675                              -144.00
            XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/03/22    CHECKCARD 0101 INDEED 203-564-2400 CT 55432862001200988021713 RECURRING CKCD                              -149.82
            5969 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/03/22    PURCHASE 0103 MSFT * E0400GZZMJ MSBILL.INFO WA                                                             -41.83
01/03/22    CHECKCARD 0103 STK*Shutterstock 8666633954 NY 12302022003000649855856                                       -52.56
            RECURRING CKCD 7333 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/05/22    CHECKCARD 0104 OFFICE DEPOT #121 800-463-3768 GA 02305372005500230559374 CKCD                             -118.15
            5965 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/05/22    CHECKCARD 0104 FEDEX 436873353 800-4633339 TN 15410192004741368733533 CKCD                                  -17.05
            4215 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/05/22    CHECKCARD 0104 MARRIOTT MEMPHIS MEMPHIS          TN 55432862004200777474757 CKCD                             -6.00
            3509 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/06/22    CHECKCARD 0105 HOT N JUICY CRAWF LAS VEGAS       NV 52704872006796657919303 CKCD                            -38.78
            5812 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/07/22    CHECKCARD 0106 HOMEDEPOT.COM 800-430-3376 GA 52707152007010179526411 CKCD                                   -53.60
            5200 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/10/22    CHECKCARD 0106 HOMEDEPOT.COM 800-430-3376 GA 52707152007010180052589 CKCD                                 -245.60
            5200 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/10/22    CHECKCARD 0106 HOMEDEPOT.COM 800-430-3376 GA 52707152007010179263395 CKCD                                  -37.54
            5200 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/10/22    CHECKCARD 0107 PAYPAL *APPLE. San Jose      CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX                          -2.99
            XXXX 8655
01/10/22    CHECKCARD 0108 PROJECT BROADCAST IRVING     TX 82305092009000000393783                                      -50.00
            RECURRING CKCD 8299 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/10/22    PURCHASE 0109 HIGHTAIL PRO PLAN CAMPBELL         CA                                                         -10.00
01/10/22    CHECKCARD 0110 PiedmontNG Charlotte      NC CKCD 9399 XXXXXXXXXXXX8655 XXXX XXXX                            -57.23
            XXXX 8655
01/10/22    CHECKCARD 0110 PiedmontNG Charlotte      NC CKCD 9399 XXXXXXXXXXXX8655 XXXX XXXX                          -403.50
            XXXX 8655
01/11/22    CHECKCARD 0110 BENFIELD SANITATI 704-8722668 NC 55436872011120114011136 CKCD                              -271.01
            4900 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/11/22    CHECKCARD 0111 PAYPAL *apple. San Jose     CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX                          -17.15
            XXXX 8655
01/13/22    CHECKCARD 0113 Aqua Services Bryn Mawr     PA CKCD 4900 XXXXXXXXXXXX8655 XXXX XXXX                     -1,080.49
            XXXX 8655
01/14/22    CHECKCARD 0113 RESTREAM, INC. AUSTIN    TX 82711162013000013252573 RECURRING                                -19.00
            CKCD 5815 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/18/22    PURCHASE 0116 Adobe Inc 8008336687 CA                                                                       -32.16
                                                                                                      continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                          Amount
01/18/22    CHECKCARD 0116 CANVA* I03302-211 CAMDEN     DE 82305092016000017268722                                -12.99
            RECURRING CKCD 7221 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/18/22    CHECKCARD 0117 PAYPAL *apple. San Jose        CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX                 -10.71
            XXXX 8655
01/20/22    CHECKCARD 0119 AT&T *PAYMENT 800-288-2020 TX 55432862019200179988969 CKCD                            -273.01
            4814 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/20/22    CHECKCARD 0120 APPLE.COM/US 800-676-2775 CA 55432862020200249967644 CKCD 5732                        -106.18
            XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/20/22    CHECKCARD 0120 PiedmontNG Charlotte      NC CKCD 9399 XXXXXXXXXXXX8655 XXXX XXXX                    -2,500.00
            XXXX 8655
01/21/22    CHECKCARD 0120 EIG*CONSTANTCONTA 855-2295506 MA 75418232020138925250293                               -45.00
            RECURRING CKCD 5968 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/24/22    CHECKCARD 0123 CITYOFCHARLOTT CHARLOTTE            NC CKCD 4900 XXXXXXXXXXXX8655 XXXX                -629.40
            XXXX XXXX 8655
01/26/22    CHECKCARD 0125 AMZN Mktp US*QF0W Amzn.com/billWA 55432862025200896456649 CKCD                         -52.54
            5942 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/26/22    CHECKCARD 0126 Amazon.com*ZZ2NC3 Amzn.com/billWA 55432862026200109702028 CKCD                         -30.50
            5942 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/26/22    CHECKCARD 0126 Amazon Prime*7Y6E Amzn.com/billWA 55432862026200990112295                              -13.93
            RECURRING CKCD 5968 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/31/22    CHECKCARD 0129 ADOBE ACROPRO SUB 4085366000 CA 52704872029700553440508                                -16.08
            RECURRING CKCD 5734 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/31/22    CHECKCARD 0128 COGIC LEADERSHIP 7738913032 TN 55310202028083720530505 CKCD                           -100.00
            8661 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
01/31/22    CHECKCARD 0130 CHURCH MUTUAL INS 7155394808 WI 55429502030719734674501 CKCD                         -1,400.00
            5960 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
Subtotal for card account # XXXX XXXX XXXX 8655                                                             -$8,038.80
Total withdrawals and other debits                                                                         -$25,003.27


Checks
Date        Check #                             Amount                   Date        Check #                      Amount
01/03/22    2888                              -1,250.00                  01/14/22    2894                        -750.00
01/04/22    2889                               -375.00                   01/19/22    2895                        -375.00
01/03/22    2890                              -3,500.00                  01/18/22    2896                       -1,250.00
01/03/22    2891                               -250.00                   01/19/22    2897                        -125.00
01/05/22    2892                                 -98.83                  01/18/22    2898                       -3,150.51
01/03/22    2893                               -150.00                   01/21/22    2899                       -1,000.00
                                                                         Total checks                       -$12,274.34
                                                                         Total # of checks                             12




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Service fees
Based on the activity on your business accounts for the statement period ending 12/31/21, a Monthly Fee was charged for your primary
Business Advantage Relationship Banking account. You can avoid the fee in the future by meeting one of the requirements below:
        $15,000+ combined average monthly balance in linked business accounts

        Become a member of Preferred Rewards for Business

For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please call
1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

Date           Transaction description                                                                                               Amount

01/03/22       Monthly Fee Business Adv Relationship                                                                                  -29.95

Total service fees                                                                                                                 -$29.95
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)     Date                         Balance($)    Date                              Balance ($)

01/01                                    2,815.83    01/11                        9,798.14      01/21                              2,857.22
01/03                                    7,096.05    01/12                        5,257.59      01/24                              1,128.53
01/04                                    7,108.06    01/13                        4,843.93      01/25                                375.83
01/05                                    3,911.58    01/14                        4,074.93      01/26                              3,623.86
01/06                                    8,686.94    01/18                        3,467.90      01/28                              4,116.86
01/07                                    9,033.34    01/19                        3,938.60      01/31                              6,870.29
01/10                               10,179.69        01/20                        3,347.22




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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               1.888.BUSINESS (1.888.287.4637)

                                                                                               bankofamerica.com
  CITY CHURCH
                                                                                               Bank of America, N.A.
  1994 UNIVERSITY CITY CHURCH DR
                                                                                               P.O. Box 25118
  HUNTERSVILLE, NC 28078-8236                                                                  Tampa, FL 33622-5118




Your Business Advantage Relationship Banking
for January 1, 2022 to January 31, 2022                                                  Account number:                         2307
CITY CHURCH

Account summary
Beginning balance on January 1, 2022                                      $143.18    # of deposits/credits: 5
Deposits and other credits                                               12,067.00   # of withdrawals/debits: 13
Withdrawals and other debits                                             -2,539.52   # of items-previous cycle¹: 0
Checks                                                                   -8,619.62   # of days in cycle: 31
Service fees                                                                -35.00   Average ledger balance: $771.40
Ending balance on January 31, 2022                                      $1,016.04    ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 57 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NC                                                                  Page 1 of 6
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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           Case 21-30161        Doc 96       Filed 02/24/22 Entered 02/24/22 14:27:18     Desc Main
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                                                                                Your checking account
CITY CHURCH ! Account #          2307 ! January 1, 2022 to January 31, 2022




Deposits and other credits
Date        Description                                                                                 Amount

01/12/22    Online Banking transfer from CHK 2297 Confirmation# 7396417034                            6,000.00

01/24/22    Online Banking transfer from CHK 2297 Confirmation# 6506341675                            5,000.00

01/25/22    Online Banking transfer from CHK 2297 Confirmation# 5215963465                            1,000.00

01/28/22    Online Banking transfer from CHK 2297 Confirmation# 3140912383                                  17.00

01/31/22    Online Banking transfer from CHK 2297 Confirmation# 7246589838                                  50.00

Total deposits and other credits                                                                  $12,067.00



Withdrawals and other debits
Date        Description                                                                                 Amount

01/07/22    ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 6312468 INDN:City Church        CO                 -58.46
            ID:9659605001 CCD

01/14/22    ADP Tax     DES:ADP Tax    ID:RU5NZ 3322748VV INDN:CITY CHURCH      CO                    -1,161.97
            ID:1941711111 CCD

01/21/22    ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 0518694 INDN:City Church        CO                 -58.46
            ID:9659605001 CCD

01/25/22    ADP Tax     DES:ADP Tax    ID:RU5NZ 012602A01 INDN:CITY CHURCH      CO                    -1,161.98
            ID:1941711111 CCD

01/26/22    ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 2329498 INDN:City Church        CO                 -98.65
            ID:9659605001 CCD

Total withdrawals and other debits                                                                -$2,539.52




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Checks
Date           Check #                                         Amount                Date            Check #                             Amount
01/14/22       50372                                        -1,009.27                01/26/22        50377*                           -1,980.12
01/12/22       50373                                        -1,980.12                01/26/22        50378                            -1,548.00
01/12/22       50374                                        -1,548.01                01/31/22        50379                              -277.05
01/14/22       50375                                           -277.05
                                                                                     Total checks                                  -$8,619.62
                                                                                     Total # of checks                                         7
* There is a gap in sequential check numbers



Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                    Total for this period            Total year-to-date

  Total Overdraft fees                                     $0.00                            $0.00

  Total NSF: Returned Item fees                           $35.00                            $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
        - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
        your payments and purchases by automatically transferring money from your linked backup accounts when needed.
        - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

Date           Transaction description                                                                                                   Amount

01/11/22       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 01-11                                                                              -35.00

Total service fees                                                                                                                    -$35.00
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)        Date                            Balance($)     Date                           Balance ($)

01/01                                     143.18        01/14                                73.30     01/26                          1,226.09
01/07                                      84.72        01/21                                14.84     01/28                          1,243.09
01/11                                      49.72        01/24                           5,014.84       01/31                          1,016.04
01/12                                    2,521.59       01/25                           4,852.86




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                                                                                                      CITY CHURCH

                                                                                     BOA #2297 OPERATING, Period Ending 01/31/2022

                                                                                                RECONCILIATION REPORT

                                                                                                  Reconciled on: 02/08/2022

                                                                                                Reconciled by: Brittany Stinson

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                                                                               USD

  Statement beginning balance                                                                                                                                                        2,815.83
  Checks and payments cleared (59)                                                                                                                                                 -37,307.56
  Deposits and other credits cleared (47)                                                                                                                                           41,362.02
  Statement ending balance                                                                                                                                                           6,870.29

  Uncleared transactions as of 01/31/2022                                                                                                                                          -25,305.63
  Register balance as of 01/31/2022                                                                                                                                                -18,435.34
  Cleared transactions after 01/31/2022                                                                                                                                                  0.00
  Uncleared transactions after 01/31/2022                                                                                                                                            1,248.93
  Register balance as of 02/08/2022                                                                                                                                                -17,186.41



  Details

  Checks and payments cleared (59)

  DATE                                        TYPE                                       REF NO.                                  PAYEE                                        AMOUNT (USD)
  12/31/2021                                  Check                                      2892                                     TImothy G. Boddy                                     -98.83
  12/31/2021                                  Check                                      2891                                     Marc Moore                                          -250.00
  12/31/2021                                  Check                                      2893                                     Jeremy Brown                                        -150.00
  01/02/2022                                  Check                                      2888                                     Marc Moore                                        -1,250.00
  01/02/2022                                  Check                                      2889                                     Steve Dalton                                        -375.00
  01/02/2022                                  Check                                      2890                                     Michael A. Stevens Sr.                            -3,500.00
  01/03/2022                                  Expense                                                                             INDEED                                              -149.82
  01/03/2022                                  Expense                                                                             BANK SERVICES CHARGES                                -29.95
  01/03/2022                                  Expense                                                                                                                                 -121.17
  01/03/2022                                  Expense                                                                                                                                 -144.00
  01/03/2022                                  Expense                                                                             ShutterStock                                         -52.56
  01/03/2022                                  Expense                                                                             Microsoft                                            -41.83
  01/05/2022                                  Expense                                                                             FEDERAL EXPRESS                                      -17.05
  01/05/2022                                  Expense                                                                             Fairfield Inn & Suites by Marriott Saginaw            -6.00
  01/05/2022                                  Expense                                                                             OFFICE DEPOT                                        -118.15
  01/05/2022                                  Expense                                                                             ElectriCities                                     -2,956.45
  01/06/2022                                  Expense                                                                                                                                  -38.78
  01/07/2022                                  Expense                                                                                                                                  -53.60
  01/10/2022                                  Expense                                                                             PIEDMONT NATURAL GAS                                 -57.23
  01/10/2022                                  Expense                                                                                                                                -245.60
  01/10/2022                                  Expense                                                                                                                                 -37.54
  01/10/2022                                  Expense                                                                             HighTail Pro                                         -10.00
  01/10/2022                                  Expense                                                                                                                                  -50.00


                                                                                                                                                                                            1/5
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  DATE                                       TYPE
                                                                     Document
                                                                      REF NO.
                                                                                   Page 32 of 41PAYEE                              AMOUNT (USD)
  01/10/2022                                 Expense                                          INTUIT QUICKBOOKS                          -161.00
  01/10/2022                                 Expense                                          Apple                                        -2.99
  01/10/2022                                 Expense                                          United Health One                         -1,254.73
  01/10/2022                                 Expense                                          PIEDMONT NATURAL GAS                        -403.50
  01/11/2022                                 Expense                                          Apple                                       -17.15
  01/11/2022                                 Expense                                                                                     -260.08
  01/11/2022                                 Expense                                          Benfield Sanitation                        -271.01
  01/12/2022                                 Transfer                                                                                   -6,000.00
  01/13/2022                                 Expense                                                                                    -1,080.49
  01/14/2022                                 Expense                                                                                      -19.00
  01/14/2022                                 Check                   2894                     Vanessa M Gilcreast                        -750.00
  01/16/2022                                 Check                   2895                     Steve Dalton                                -375.00
  01/16/2022                                 Check                   2896                     Marc Moore                                -1,250.00
  01/16/2022                                 Check                   2897                     Rodney McCoy                                -125.00
  01/18/2022                                 Check                   2898                     Pastor Michael Stevens                    -3,150.51
  01/18/2022                                 Expense                                          Apple                                        -10.71
  01/18/2022                                 Expense                                                                                      -12.99
  01/18/2022                                 Expense                                                                                      -32.16
  01/20/2022                                 Expense                                          PIEDMONT NATURAL GAS                      -2,500.00
  01/20/2022                                 Expense                                          AT&T                                        -273.01
  01/20/2022                                 Expense                                          Apple                                       -106.18
  01/21/2022                                 Check                   2899                     Matthew Stevens                           -1,000.00
  01/21/2022                                 Expense                                          CONSTANT CONTACT                             -45.00
  01/24/2022                                 Transfer                                                                                   -5,000.00
  01/24/2022                                 Expense                                          CITY OF CHARLOTTE                           -629.40
  01/24/2022                                 Expense                                                                                       -64.04
  01/25/2022                                 Transfer                                                                                   -1,000.00
  01/26/2022                                 Expense                                          INTUIT QUICKBOOKS                            -80.00
  01/26/2022                                 Expense                                          AMAZON                                      -52.54
  01/26/2022                                 Expense                                          AMAZON                                      -13.93
  01/26/2022                                 Expense                                          AMAZON                                      -30.50
  01/28/2022                                 Transfer                                                                                     -17.00
  01/31/2022                                 Expense                                          COGIC LEADERSHIP                           -100.00
  01/31/2022                                 Transfer                                                                                      -50.00
  01/31/2022                                 Expense                                          Church Mutual                             -1,400.00
  01/31/2022                                 Expense                                                                                      -16.08

  Total                                                                                                                              -37,307.56


  Deposits and other credits cleared (47)

  DATE                                       TYPE                     REF NO.                  PAYEE                               AMOUNT (USD)
  12/23/2021                                 Expense                                                                                      200.00
  01/03/2022                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS              96.80
  01/03/2022                                 Deposit                                                                                      676.00
  01/03/2022                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS           1,095.25
  01/03/2022                                 Deposit                                                                                      655.22


                                                                                                                                               2/5
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                                                                 REF NO.
                                                                              Page 33 of 41PAYEE                           AMOUNT (USD)
  01/03/2022                             Deposit                                                                                3,350.00
  01/03/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          113.01
  01/03/2022                             Deposit                                                                                1,404.97
  01/03/2022                             Deposit                                                                                2,578.30
  01/04/2022                             Deposit                                         SUNTRUST MERCHNT DES                     130.00
  01/04/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          257.01
  01/06/2022                             Deposit                                                                                4,750.00
  01/06/2022                             Deposit                                                                                   64.14
  01/07/2022                             Deposit                                                                                  100.00
  01/07/2022                             Deposit                                         COGIC LEADERSHIP                         300.00
  01/10/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          611.13
  01/10/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          651.31
  01/10/2022                             Deposit                                                                                2,106.50
  01/11/2022                             Deposit                                                                                  150.00
  01/11/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS           16.69
  01/12/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          242.45
  01/12/2022                             Deposit                                                                                  135.00
  01/12/2022                             Deposit                                                                                  310.00
  01/12/2022                             Deposit                                                                                  772.00
  01/13/2022                             Deposit                                                                                  225.00
  01/13/2022                             Deposit                                         SUNTRUST MERCHNT DES                     413.00
  01/13/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS           28.83
  01/18/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          450.91
  01/18/2022                             Deposit                                                                                   40.00
  01/18/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          513.43
  01/18/2022                             Deposit                                                                                2,685.00
  01/18/2022                             Deposit                                                                                  160.00
  01/19/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          970.70
  01/20/2022                             Deposit                                         CashApp                                1,500.00
  01/20/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          353.81
  01/20/2022                             Deposit                                                                                  434.00
  01/21/2022                             Deposit                                                                                  555.00
  01/24/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          862.39
  01/24/2022                             Deposit                                                                                1,750.00
  01/24/2022                             Deposit                                                                                  950.00
  01/24/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          402.36
  01/25/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          247.30
  01/26/2022                             Deposit                                         Bright Kids                            3,000.00
  01/26/2022                             Deposit                                                                                  425.00
  01/28/2022                             Deposit                                                                                  510.00
  01/31/2022                             Deposit                                                                                3,368.50
  01/31/2022                             Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS          751.01

  Total                                                                                                                       41,362.02


  Additional Information

  Uncleared checks and payments as of 01/31/2022
                                                                                                                                       3/5
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  DATE                                      TYPE
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                                                                    REF NO.
                                                                                 Page 34 of 41PAYEE                              AMOUNT (USD)
  01/04/2021                                Expense                                         BANK SERVICES CHARGES                       -29.95
  01/05/2021                                Expense                                                                                     -35.00
  01/06/2021                                Expense                                                                                     -35.00
  01/11/2021                                Expense                                         INTUIT QUICKBOOKS                           -70.00
  01/15/2021                                Expense                                                                                     -35.00
  02/01/2021                                Expense                                         BANK SERVICES CHARGES                       -29.95
  02/03/2021                                Transfer                                                                                  -3,000.00
  02/23/2021                                Expense                                                                                      -35.00
  02/23/2021                                Expense                                         BANK SERVICES CHARGES                     -1,000.00
  03/01/2021                                Expense                                                                                     -29.95
  03/05/2021                                Transfer                                                                                     -10.00
  03/15/2021                                Transfer                                                                                  -2,600.00
  04/01/2021                                Expense                                                                                     -29.95
  04/05/2021                                Expense                                                                                    -875.00
  04/06/2021                                Transfer                                                                                  -2,000.00
  04/08/2021                                Transfer                                                                                  -1,000.00
  04/16/2021                                Expense                                                                                    -171.31
  04/19/2021                                Expense                                                                                    -294.31
  06/02/2021                                Transfer                                                                                   -500.00
  06/29/2021                                Check                  2806                     Vanessa M Gilcreast                        -750.00
  06/30/2021                                Transfer                                                                                  -4,500.00
  09/07/2021                                Check                                                                                       -400.00
  09/07/2021                                Check                                           Pastor Michael Stevens                    -3,500.00
  10/03/2021                                Check                  2853                     Steve Dalton                               -750.00
  10/04/2021                                Check                                                                                     -2,500.00
  11/01/2021                                Transfer                                                                                  -1,200.00
  11/22/2021                                Check                                           Vanessa M Gilcreast                        -300.00
  11/26/2021                                Transfer                                                                                  -1,000.00
  01/23/2022                                Check                  2900                     Rodney McCoy                               -125.00
  01/31/2022                                Check                  2902                     Vanessa M Gilcreast                        -750.00

  Total                                                                                                                            -27,555.42


  Uncleared deposits and other credits as of 01/31/2022

  DATE                                      TYPE                    REF NO.                  PAYEE                               AMOUNT (USD)
  01/22/2021                                Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS             524.79
  02/11/2021                                Check                  2746                     Lewis Law Firm                                0.00
  03/04/2021                                Deposit                                                                                     105.00
  06/02/2021                                Transfer                                                                                     20.00
  06/02/2021                                Transfer                                                                                    500.00
  06/29/2021                                Transfer                                                                                  1,100.00
  07/18/2021                                Check                  2814                     Marc Moore                                    0.00

  Total                                                                                                                              2,249.79


  Uncleared checks and payments after 01/31/2022

                                                                                                                                             4/5
2/21/22, 3:02 PM                          Case 21-30161   Doc 96   Filed 02/24/22 Entered 02/24/22 14:27:18          Desc Main
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                                                                   Document
                                                                    REF NO.
                                                                                 Page 35 of 41PAYEE                              AMOUNT (USD)
  02/01/2022                                Expense                                                                                     -29.95
  02/01/2022                                Check                  2901                     Pastor Michael Stevens                    -3,500.00
  02/02/2022                                Expense                                         INDEED                                     -166.01
  02/02/2022                                Expense                                         ElectriCities                             -2,715.00
  02/03/2022                                Expense                                         Microsoft                                   -41.83
  02/03/2022                                Expense                                         ShutterStock                                -52.56
  02/03/2022                                Expense                                                                                    -480.92
  02/04/2022                                Expense                                         TIER 1 GRAPHICS LLC                        -120.90
  02/04/2022                                Check                  2903                     Marc Moore                                -1,000.00
  02/06/2022                                Check                  2905                     Best Finishes                             -1,000.00
  02/06/2022                                Check                  2904                     Steve Dalton                               -300.00
  02/07/2022                                Transfer                                                                                    -50.00
  02/07/2022                                Transfer                                                                                  -2,000.00

  Total                                                                                                                            -11,457.17


  Uncleared deposits and other credits after 01/31/2022

  DATE                                      TYPE                    REF NO.                  PAYEE                               AMOUNT (USD)
  02/01/2022                                Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS             319.83
  02/01/2022                                Deposit                                                                                     580.00
  02/02/2022                                Deposit                                                                                       5.00
  02/02/2022                                Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS             560.64
  02/02/2022                                Deposit                                                                                   5,500.00
  02/04/2022                                Deposit                                                                                     100.00
  02/07/2022                                Deposit                                                                                   1,439.00
  02/07/2022                                Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS           1,000.80
  02/07/2022                                Deposit                                         CashApp                                   1,000.00
  02/07/2022                                Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS             948.60
  02/07/2022                                Deposit                                         GIVELIFY - 5TH 3RD BANKCARD SYS           1,109.69
  02/07/2022                                Deposit                                                                                     142.54

  Total                                                                                                                             12,706.10




                                                                                                                                             5/5
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                                                                                                     CITY CHURCH

                                                                                     BOA #2307 AUXILLARY, Period Ending 01/31/2022

                                                                                                 RECONCILIATION REPORT

                                                                                                 Reconciled on: 02/08/2022

                                                                                              Reconciled by: Brittany Stinson

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                                                                     USD

  Statement beginning balance                                                                                                                                                143.18
  Checks and payments cleared (13)                                                                                                                                       -11,194.14
  Deposits and other credits cleared (5)                                                                                                                                  12,067.00
  Statement ending balance                                                                                                                                                 1,016.04

  Uncleared transactions as of 01/31/2022                                                                                                                                 6,410.00
  Register balance as of 01/31/2022                                                                                                                                       7,426.04
  Cleared transactions after 01/31/2022                                                                                                                                       0.00
  Uncleared transactions after 01/31/2022                                                                                                                                 1,005.73
  Register balance as of 02/08/2022                                                                                                                                       8,431.77



  Details

  Checks and payments cleared (13)

  DATE                                        TYPE                                       REF NO.                                PAYEE                                AMOUNT (USD)
  01/07/2022                                  Expense                                                                           ADP Inc.                                     -58.46
  01/11/2022                                  Expense                                                                                                                        -35.00
  01/12/2022                                  Check                                      50373                                  Pastor Michael Stevens                    -1,980.12
  01/12/2022                                  Check                                      50374                                  Sharon Stevens                            -1,548.01
  01/14/2022                                  Expense                                                                           ADP TAX                                   -1,161.97
  01/14/2022                                  Check                                      50375                                  Brittany Stinson                            -277.05
  01/14/2022                                  Check                                      50372                                  TImothy G. Boddy                          -1,009.27
  01/21/2022                                  Expense                                                                           ADP Inc.                                     -58.46
  01/25/2022                                  Expense                                                                           ADP TAX                                   -1,161.98
  01/26/2022                                  Check                                      50378                                  Sharon Stevens                            -1,548.00
  01/26/2022                                  Expense                                                                           ADP Inc.                                     -98.65
  01/26/2022                                  Check                                      50377                                  Pastor Michael Stevens                    -1,980.12
  01/31/2022                                  Check                                      50379                                  Brittany Stinson                            -277.05

  Total                                                                                                                                                                -11,194.14


  Deposits and other credits cleared (5)

  DATE                                        TYPE                                       REF NO.                                PAYEE                                AMOUNT (USD)
  01/12/2022                                  Transfer                                                                                                                    6,000.00
  01/24/2022                                  Transfer                                                                                                                    5,000.00
  01/25/2022                                  Transfer                                                                                                                    1,000.00
  01/28/2022                                  Transfer                                                                                                                       17.00


                                                                                                                                                                                 1/3
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  01/31/2022                                Transfer                                                                               50.00

  Total                                                                                                                       12,067.00


  Additional Information

  Uncleared checks and payments as of 01/31/2022

  DATE                                      TYPE                    REF NO.                  PAYEE                         AMOUNT (USD)
  05/04/2021                                Transfer                                                                              -15.00
  05/20/2021                                Transfer                                                                              -50.00
  06/02/2021                                Transfer                                                                              -20.00
  07/12/2021                                Transfer                                                                              -60.00
  07/13/2021                                Transfer                                                                              -300.00
  07/16/2021                                Transfer                                                                               -50.00
  07/29/2021                                Transfer                                                                            -1,068.00
  08/22/2021                                Check                  1746                     Rodney McCoy                         -150.00
  09/13/2021                                Transfer                                                                             -500.00
  09/23/2021                                Transfer                                                                             -500.00
  12/26/2021                                Check                  1747                     Rodney McCoy                         -125.00

  Total                                                                                                                       -2,838.00


  Uncleared deposits and other credits as of 01/31/2022

  DATE                                      TYPE                    REF NO.                  PAYEE                         AMOUNT (USD)
  05/11/2021                                Transfer                                                                               50.00
  05/20/2021                                Transfer                                                                               50.00
  07/16/2021                                Transfer                                                                               50.00
  07/29/2021                                Transfer                                                                            1,068.00
  09/03/2021                                Transfer                                                                               60.00
  09/13/2021                                Transfer                                                                              200.00
  09/13/2021                                Transfer                                                                            3,799.00
  09/22/2021                                Transfer                                                                            1,300.00
  09/23/2021                                Transfer                                                                            2,071.00
  09/27/2021                                Transfer                                                                              300.00
  09/27/2021                                Transfer                                                                              300.00

  Total                                                                                                                        9,248.00


  Uncleared checks and payments after 01/31/2022

  DATE                                      TYPE                    REF NO.                  PAYEE                         AMOUNT (USD)
  02/04/2022                                Expense                                                                               -35.00
  02/04/2022                                Check                  50376                    TImothy G. Boddy                    -1,009.27

  Total                                                                                                                       -1,044.27

                                                                                                                                       2/3
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  Uncleared deposits and other credits after 01/31/2022

  DATE                                      TYPE                    REF NO.                  PAYEE                        AMOUNT (USD)
  02/07/2022                                Transfer                                                                              50.00
  02/07/2022                                Transfer                                                                           2,000.00

  Total                                                                                                                       2,050.00




                                                                                                                                      3/3
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                                                       Profit and Loss by Tag Group
                                                                 January 2022


                                                 JAN 1,       JAN 2-8,        JAN 9-15,       JAN 16-22,   JAN 23-29,    JAN 30-31,     TOTAL
                                                  2022           2022             2022             2022         2022          2022
Revenue
 UNRESTRICTED SUPPORT & REVENUE                                                                                                          $0.00
  BUILDING RENTAL                                                                                           3,000.00                  $3,000.00
  DAYCARE INCOME                                              4,750.00                                                                $4,750.00
  GENERAL TITHES & OFFERINGS                                10,520.70         5,661.91          7,662.85    5,147.05      4,119.51 $33,112.02
 Total UNRESTRICTED SUPPORT &                               15,270.70         5,661.91          7,662.85    8,147.05      4,119.51 $40,862.02
 REVENUE
Total Revenue                                    $0.00     $15,270.70        $5,661.91         $7,662.85   $8,147.05     $4,119.51 $40,862.02
GROSS PROFIT                                     $0.00     $15,270.70        $5,661.91         $7,662.85   $8,147.05     $4,119.51 $40,862.02
Expenditures
 ADMINISTRATIVE EXPENSES                                                                                                                 $0.00
  BANK SERVICE CHARGES                                          151.12            35.00                                                $186.12
  DUES & SUBSCRIPTIONS                                                                                                                   $0.00
  Apple                                                                           20.14           116.89                               $137.03
  ShutterStock                                                   52.56                             12.99                                $65.55
  SOFTWARE                                                       41.83          171.00             77.16       80.00         16.08     $386.07
  Total DUES & SUBSCRIPTIONS                                     94.39          191.14            207.04       80.00         16.08     $588.65
  POSTAGE & PRINTING                                             17.05                                                                  $17.05
 Total ADMINISTRATIVE EXPENSES                                  262.56          226.14            207.04       80.00         16.08     $791.82
 Billing Expenses                                                                                                                        $0.00
  Advertising/Promotional                                                         50.00                                                 $50.00
  Aqua                                                                        1,080.49                                                $1,080.49
  AT&T                                                                                            273.01                               $273.01
  Benfield Sanitation                                                           271.01                                                 $271.01
  Church Mutual Insurance                                       144.00                                                    1,400.00    $1,544.00
  City of Charlotte                                                                                           629.40                   $629.40
  Electricities                                               2,956.45                                                                $2,956.45
  Piedmont Natural Gas                                                          460.73          2,500.00                              $2,960.73
  United Health One                                                           1,254.73                                                $1,254.73
  Zoom                                                                            19.00                                                 $19.00
 Total Billing Expenses                                       3,100.45        3,135.96          2,773.01      629.40      1,400.00 $11,038.82
 Church Expenses                                                                                                                         $0.00
  Books, Study Materials, etc.                                                                                 96.97                    $96.97
 Total Church Expenses                                                                                         96.97                    $96.97
 Contractors                                                                                                                             $0.00
  Contract Payment                                            1,625.00          750.00          2,750.00        0.00        750.00    $5,875.00
 Total Contractors                                            1,625.00          750.00          2,750.00        0.00        750.00    $5,875.00
 Donations                                                                                                                               $0.00
  Gifts to Other Ministries                                                                                                 100.00     $100.00
 Total Donations                                                                                                            100.00     $100.00
 Job Supplies                                                   171.75          283.14                                                 $454.89
 Meals & Entertainment                                           38.78                                                                  $38.78
 MERCHANT FEES                                                                  260.08                                                 $260.08
 PAYROLL EXPENSES                                                                                                                        $0.00
  Pastor Allowance                                            3,500.00                                                                $3,500.00
  PAYROLL SERVICE                                                58.46                             58.46       98.65                   $215.57
  PAYROLL TAXES                                                               1,161.97                      1,161.98                  $2,323.95
  SALARIES & WAGES                                                            4,814.45                      3,528.12        277.05    $8,619.62
 Total PAYROLL EXPENSES                                       3,558.46        5,976.42             58.46    4,788.75        277.05 $14,659.14
 PROGRAM EXPENSES                                                                                                                        $0.00


                                          Accrual Basis Monday, February 21, 2022 03:10 PM GMT-05:00                                       1/2
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                                                       CITY CHURCH
                                                   Profit and Loss by Tag Group
                                                             January 2022


                                             JAN 1,       JAN 2-8,        JAN 9-15,       JAN 16-22,    JAN 23-29,    JAN 30-31,     TOTAL
                                              2022           2022             2022             2022          2022          2022
  ADVERTISING                                                                                                                         $0.00
  CLASSIFIED ADS                                            149.82                                                                  $149.82
  Total ADVERTISING                                         149.82                                                                  $149.82
  BENEVOLENCE & DONATION EXPENSE                           -300.00                                                                 $ -300.00
 Total PROGRAM EXPENSES                                    -150.18                                                                 $ -150.18
 Reimbursable Expenses                                                                      3,150.51                               $3,150.51
 Travel                                                       6.00                                                                    $6.00
 Uncategorized Expense                                                                                      64.04                    $64.04
Total Expenditures                           $0.00      $8,612.82       $10,631.74         $8,939.02    $5,659.16     $2,543.13 $36,385.87
NET OPERATING REVENUE                        $0.00      $6,657.88       $ -4,969.83       $ -1,276.17   $2,487.89     $1,576.38    $4,476.15
NET REVENUE                                  $0.00      $6,657.88       $ -4,969.83       $ -1,276.17   $2,487.89     $1,576.38    $4,476.15




                                      Accrual Basis Monday, February 21, 2022 03:10 PM GMT-05:00                                        2/2
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                                                                  3-YEAR BUDGET
                                                                     YEAR 2022
                                                                                 Feb-22
                                 REVENUE
  FACILITY RENTAL INCOME                                                     $      4,000.00
  TITHES & OFFERINGS                                                         $     35,750.00
  Total REVENUE                                                              $     39,750.00


                            EXPENDITURES
ADMINISTRATIVE EXPENSES
 MANAGEMENT & GENERAL
  Bank Service Charges                                                       $       515.00
  Future Rental (Relocation Expenses)
 Total MANAGEMENT & GENERAL                                                  $       515.00

  DUES & SUBSCRIPTIONS
   ACS Technologies                                                          $        78.00
   GoDaddy                                                                   $        45.00
   Intuit/Quickbooks                                                         $        21.98
   Subscriptions (i.e.ConstantContact, ProjectBroadcast, etc)                $       122.00
   Software (Apple, Adobe, Hightail, Microsoft, etc.)                        $       300.00
  Total DUES & SUBSCRIPTIONS                                                 $       566.98

   BUILDING REPAIR & MAINTENANCE
   Benfield Sanitation                                                       $        90.00
   FLS and Landscaping                                                       $       300.00
   Lefler's Electronic (Security Central)                                    $       120.00
   Cleaning Company
   Uline                                                                     $       200.00
   Total BUILDING REPAIR & MAINTENANCE                                       $       710.00

  INSURANCE
    Church Mutual Insurance (renter's insurance yr 2/3)                      $      1,300.00
    United Health One                                                        $      1,136.00
    Colonial Life                                                            $         36.00
    Total INSURSANCE                                                         $      2,472.00

  OFFICE EXPENSE & SUPPLIES
   Office Supplies (Staples or Office Max)                                   $        60.00
   Postage/Shipping
   Printing/Coping                                                           $        50.00
  Total OFFICE EXPENSE & SUPPLIES                                            $       110.00

  UTILITIES
   Aqua (sewer service)                                                      $      1,200.00
   AT&T (security)                                                           $        155.00
   City of Charlotte (water)                                                 $        900.00
   Electric Company                                                          $      3,500.00
   Piedmont Natural Gas                                                      $      1,100.00
   Telephone/Internet Service (Verizon Service)                              $        160.00
  Total UTILITIES                                                            $      7,015.00


  CHURCH EXPENSES
   Advertising/Marketing                                                     $       500.00
   Benevolence & Donations                                                   $       100.00
   Church Supplies (communion, offering , member services, etc.)             $       250.00
   Hospitality                                                               $       100.00
   Honoriaum
   Jurisdictional                                                            $        700.00
   Media & Worship Services                                                  $        200.00
   Musicians (keyboard, drum, bass)                                          $      3,100.00
  Total Church Expenses                                                      $      4,950.00

CONFERENCE, TRAVEL & EDUCATION EXPENSE
 Conferences/Meetings/Seminars                                               $       250.00
 Education/Training
 Travel Expenses (i.e airfare, lodgings, meals, etc.)                        $      1,500.00
 Total CONFERENCE, TRAVEL & EDUCATION EXPENSE                                $      1,750.00

  PAYROLL EXPENSES
  Pastor Allowance                                                           $      3,500.00
  Payroll Services                                                           $        144.00
  Payroll Taxes & Fees                                                       $      2,384.30
  Salaries & Wages                                                           $      9,536.24
  Independent Contractor (admin office and Media I/T Rep.)                   $      5,900.00
  Total PAYROLL EXPENSES                                                     $     21,464.54

  TOTAL EXPENDITURES                                                         $     39,553.52

  TOTAL CHURCH REVENUE                                                       $     39,750.00

  DISPOSABLE REVENUE                                                         $       196.48




Copy City Church_3 Year Budget Plan_2022-2024
2/22/2022                                                                                                                1 of 1
